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15   Attorneys for Plaintiffs WhatsApp LLC and
16   Meta Platforms, Inc.

17
                                UNITED STATES DISTRICT COURT
18
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
19

20                                     OAKLAND DIVISION

21    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
22                                      )
                      Plaintiffs,       )
23                                                 STIPULATION AND [PROPOSED]
                                        )
             v.                         )          SCHEDULING ORDER
24
                                        )
25    NSO GROUP TECHNOLOGIES LIMITED )             Ctrm:    3
      and Q CYBER TECHNOLOGIES LIMITED, )          Judge:   Hon. Phyllis J. Hamilton
26                                      )
                      Defendants.       )          Action Filed: October 29, 2019
27
                                        )
28                                      )
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1             Pursuant to Local Rule 6-1(b), and supported by the accompanying Declaration of Micah

2    G. Block (the “Block Declaration”), Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

3    (“Plaintiffs”) and Defendants NSO Group Technologies Limited and Q Cyber Technologies

4    Limited (“Defendants,” and, collectively with Plaintiffs, the “Parties”) hereby stipulate:

5             WHEREAS, on February 15, 2024, the Court granted Defendants’ Motion for Relief from

6    Case Management Schedule and extended the fact-discovery cutoff to September 13, 2024 (Dkt.

7    No. 289);

8             WHEREAS, on February 23, 2024, the Court issued a written order following the February

9    15, 2024, hearing, ordering that the Parties’ expert disclosures were due by August 30, 2024, and

10   ordering the Parties to “meet and confer regarding other dates proposed in the motion for relief

11   from case management schedule and submit a stipulation for the Court’s approval” (Dkt. No. 292);

12            WHEREAS, on July 18, 2024, the Parties filed a stipulation and proposed scheduling order

13   that would require expert discovery to be completed on or before October 25, 2024 (Dkt. No. 344

14   at 4);

15            WHEREAS, on July 31, 2024, the Court granted the Parties’ stipulation and so-ordered the

16   Parties’ proposed scheduling order (Dkt. No. 357);

17            WHEREAS, on August 31, 2024, Plaintiffs served affirmative expert reports from Dana

18   Trexler, Anthony Vance, and David Youssef, and Defendants served affirmative expert reports

19   from Terrence McGraw, Col. Ty M. Shepard (Ret.), and John “Jay” Town;

20            WHEREAS, in order to accommodate the Parties’ agreed-upon schedule and witness

21   availability, the Parties agreed that the depositions of five fact witnesses should be taken shortly

22   after the fact-discovery cutoff during the weeks of September 16, 2024, and of September 23, 2024

23   (Dkt. No. 378 at 1);

24            WHEREAS, on September 16, 2024, the Court granted the Parties’ stipulation and allowed

25   depositions after the fact-discovery cutoff during the weeks of September 16, 2024, and of

26   September 23, 2024 (Dkt. No. 380);

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                                                                  STIPULATION AND [PROPOSED] SCHEDULING ORDER
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1               WHEREAS, on September 21, 2024, Plaintiffs served a supplemental expert report from

2    Dana Trexler and rebuttal expert reports from Anthony Vance, and David Youssef, and Defendants

3    served rebuttal expert reports from Terrence McGraw and Gregory A. Pinsonneault;

4               WHEREAS, the Parties have coordinated extensively to complete fact discovery

5    (including fact depositions) and serve opening and rebuttal experts before the September 27, 2024

6    deadline for filing dispositive motions;

7               WHEREAS, the Parties have designated a total of seven experts, who are located in five

8    different states, and thus their depositions will require travel on the part of counsel for one or both

9    Parties;

10              WHEREAS, the Parties have met and conferred to discuss the scheduling of expert

11   depositions, and due to the schedules of experts and the Parties’ counsel, the Parties agree that

12   additional time is required to complete expert discovery;

13              WHEREAS, the Parties believe that additional time to complete expert discovery would

14   not interfere with the dispositive motion briefing schedule, the dispositive motion hearing, or any

15   other aspect of the pretrial process;

16              NOW, THEREFORE, the Parties agree and hereby stipulate that the expert discovery cut-

17   off be extended from October 25, 2024, to December 16, 2024, so that the Parties can complete

18   expert discovery, and respectfully request that the Court enter the Parties’ proposed order

19   submitted herewith.

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                                                                    STIPULATION AND [PROPOSED] SCHEDULING ORDER
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1     Dated: October 25, 2024
2                                        DAVIS POLK & WARDWELL LLP
3
                                         By: /s/ Micah G. Block
4
                                             Micah G. Block (SBN 270712)
5
                                                   Attorneys for Plaintiffs WhatsApp LLC and
6                                                  Meta Platforms, Inc.
7
                                         KING & SPALDING LLP
8

9                                        By: /s/ Joseph N. Akrotirianakis
                                             Joseph N. Akrotirianakis
10

11                                                 Attorneys for Defendants NSO Group
                                                   Technologies Limited and Q Cyber
12                                                 Technologies Limited
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                                                            STIPULATION AND [PROPOSED] SCHEDULING ORDER
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1                                      FILER’S ATTESTATION

2           Pursuant to Civil L. R. 5-1(h)(3), regarding signatures, Micah G. Block hereby attests that

3    concurrence in the filing of the document has been obtained from all of the signatories above.

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      Dated: October 25, 2024                            /s/ Micah G. Block
5                                                        Micah G. Block
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                                                                  STIPULATION AND [PROPOSED] SCHEDULING ORDER
                                                                                     CASE NO. 4:19-CV-07123-PJH
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1                                         PROPOSED ORDER

2           Pursuant to the stipulation of the parties and good cause for the modification of the existing

3    Case Management Schedule having been shown, the Court hereby orders that the expert discovery

4    cut-off shall be December 16, 2024, in order for the Parties to complete expert discovery. For the

5    avoidance of doubt, and pursuant to Civil Local Rule 37-3, the deadline to file motions related to

6    expert discovery shall be December 23, 2024.

7           All other deadlines of the Case Management Schedule (see Dkt. No. 357) remain in place.

8           IT IS SO ORDERED.

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10    Dated:
                                                 THE HONORABLE PHYLLIS J. HAMILTON
11                                               Senior United States District Judge
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                                                                  STIPULATION AND [PROPOSED] SCHEDULING ORDER
                                                                                     CASE NO. 4:19-CV-07123-PJH
